      Case: 1:19-cv-02162 Document #: 8 Filed: 04/19/19 Page 1 of 2 PageID #:19



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                              :
GEORGE MOORE,                                 :
                                              :
       Plaintiff,                             :     Case No. 19-cv-02162
                                              :
v.                                            :     Honorable Virginia M. Kendall
                                              :
DIAL4MD, INC,                                 :     Magistrate Judge Mary M. Rowland
EMMANUEL SILVA,                               :
FRANCISCO OCASIO JR,                          :
and DOES 1 – 10,                              :
                                              :
       Defendants.                            :
                                              /

                                 NOTICE OF SETTLEMENT

       Plaintiff George Moore hereby notifies this Honorable Court that the parties named in the

above-captioned case have reached an agreement in principle to settle this matter. Plaintiff

respectfully requests that the Court vacate all pending deadlines and allow 75 days within which

to finalize the settlement and file dispositive documentation.


                                              Respectfully submitted,

                                              GEORGE MOORE,
                                              Pro Se


       DATED: April 19, 2019                  By: /s/ George Moore
                                                  George Moore
                                                  906 Chatham Drive
                                                  Carol Stream, IL 60188
                                                  Email: gmoore3@att.net
                                                  Telephone: (630) 699-3205
      Case: 1:19-cv-02162 Document #: 8 Filed: 04/19/19 Page 2 of 2 PageID #:20



                                CERTIFICATE OF SERVICE

       I hereby certify that, on April 19, 2019, a copy of the foregoing Notice Of Settlement

was sent via First-Class U.S. Mail to the following parties:

       Christopher P. Meier, Esq.
       Greenspoon Marder, LLP
       100 West Cypress Creek Road Suite 700
       Ft. Lauderdale, FL 33309
       Counsel for Dial4MD, Inc, Emmanuel Silva and Francisco Ocasio Jr



                                              By: /s/ George Moore
                                                  George Moore
